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                                       UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF TEXAS
                                            MARSHALL DIVISION

   WARNER RECORDS, INC., et al.,

                         Plaintiffs,

             v.                                            Case No. 2:23-cv-00576-JRG-RSP

   ALTICE USA, INC., et al.,

                         Defendants.

                                  DECLARATION OF SEAN R. ANDERSON

            1.       I, Sean R. Anderson, am an attorney at law, duly licensed to practice before the

  courts of New York. I am a partner at Winston & Strawn LLP and counsel of record for Defendants

  in the above-captioned action. I have personal knowledge of the facts set forth herein, except where

  noted, and, if called to testify, could and would competently testify thereto.

       I.         PLAINTIFFS’ PARENT COMPANIES

            2.       Attached hereto as Exhibit 1 is a true and correct copy of Warner Music Group

  Corporation (“WMG”)’s Form 10-K, dated November 21, 2023, which states that WMG’s

  principal executive offices are located at 1633 Broadway, New York, NY 10019.

            3.       Attached hereto as Exhibit 2 is a true and correct copy of Sony Group

  Corporation’s (“SGC”) Form 20-F, dated June 20, 2023, which states that SGC is a Japanese

  Corporation, SGC wholly owns a subsidiary named Sony Corporation of America, and Sony

  Corporation of America is located at 25 Madison Avenue, New York, NY 10010.

            4.       Attached hereto as Exhibit 3 is a true and correct copy of printout of Sony’s “Who

  We              Are”          Webpage       (available        at     the      following        URL:

  https://www.sony.com/content/sony/en/en_us/SCA/who-we-are/overview.html#music),               which
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  states that “Sony Corporation of America, located in New York, NY, is the U.S. headquarters of

  Sony Group Corporation,” and that its “principal U.S. businesses include” Sony Music

  Entertainment and Sony Music Publishing LLC.

           5.        Attached hereto as Exhibit 4 is a true and correct copy of a printout of Sony Music’s

  FAQ Webpage (available at the following URL: https://www.sonymusic.com/faq/), which states

  that “Sony Music has offices in over 60 countries around the world. Its global HQ is based in New

  York City.”

     II.        THE NAMED PLAINTIFFS

                A.      The “Warner Music Plaintiffs”

           6.        Attached hereto as Exhibit 5 is a true and correct copy of a printout from Atlantic

  Recording Corporation’s website, which states that its principal place of business is 1633

  Broadway New York, New York 10019, USA.

           7.        Attached hereto as Exhibit 6 is a true and correct copy of a complaint filed by

  Atlantic Records Group LLC and others on September 15, 2022, captioned Atlantic Recording

  Corp. et al. v Vital Pharm., Case No. 1:22-cv-22951 (S.D. Fla. 2022), which states that Atlantic

  Records Group LLC’s principal place of business is 1633 Broadway, New York, New York 10019.

           8.        As noted, Exhibit 1 is a true and correct copy of WMG’s 10-K, dated November

  21, 2023, states that Bad Boy Records LLC is incorporated in the state of Delaware. Attached

  hereto as Exhibit 6 is a true and correct copy of a complaint filed by Bad Boy Records LLC and

  others on September 15, 2022, captioned Atlantic Recording Corp. et al. v Vital Pharm., Case No.

  1:22-cv-22951 (S.D. Fla. 2022), which states that Bad Boy Records LLC’s principal place of

  business is 1633 Broadway, New York, New York 10019.




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         9.     Attached hereto as Exhibit 7 is a true and correct copy of Big Beat Records Inc.’s

  2022 Annual Tax Report filed with the State of Delaware, which states that Big Beat Records

  Inc.’s principal place of business is 1633 Broadway, New York, New York 10019. The 2022

  Annual Tax Report also states that 1633 Broadway, New York, New York 10019 is the location

  of the following individuals: Craig Kallman, CEO; Eric Levin, Director; Paul Robinson, Director;

  Trent Tappe, Director; and Michelle Stallone, Manager. Attached hereto as Exhibit 8 is a true and

  correct copy of a printout of an October 12, 2022 press release from WMG (available at the

  following    URL:     https://www.wmg.com/news/julie-greenwald-elevated-to-chairman-ceo-of-

  newly-created-atlantic-music-group ), which states that Julie Greenwald is the “Chairman & CEO

  of the newly created Atlantic Music Group.” The press release further states that Julie Greenwald

  “oversees Atlantic Records,” including “Big Beat.” Attached hereto as Exhibit 9 is a true and

  correct copy of a printout from what appears to be Julie Greenwald’s LinkedIn account (available

  at the following URL: https://www.linkedin.com/in/julie-greenwald-0a71401a2). The printout

  states that Julie Greenwald is a Chairperson for Atlantic Records. This printout also states that

  Julie Greenwald is based in the “New York City Metropolitan Area.”

         10.    Attached hereto as Exhibit 10 is a true and correct copy of Elektra Entertainment

  Group Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that Elektra

  Entertainment Group Inc.’s principal place of business is 1633 Broadway, New York, New York

  10019. The 2022 Annual Tax Report also states that 1633 Broadway, New York, New York 10019

  is the location of the following individuals: John Beddia, CEO; Eric Levin, Director; Paul

  Robinson, Director; Trent Tappe, Director; and Michelle Stallone, Manager. As noted, Exhibit 8

  is a true and correct copy of a printout of an October 12, 2022, press release from WMG , which

  states that Julie Greenwald is the “Chairman & CEO of the newly created Atlantic Music Group.”




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  The press release further states that Julie Greenwald “oversees Atlantic Records,” including

  “Elektra.”

         11.     Attached hereto as Exhibit 11 is a true and correct copy of a complaint filed by

  Fueled by Ramen LLC and others on March 22, 2019, captioned Warner Records Inc. et al. v

  Charter Communications Inc., Case No. 1:19-cv-00874 (D. Colo. 2019), which states that Fueled

  by Ramen LLC’s principal place of business is 1633 Broadway, New York, New York 10019. As

  noted, Exhibit 8 is a true and correct copy of a printout of an October 12, 2022 press release from

  WMG, which states that Julie Greenwald is the “Chairman & CEO of the newly created Atlantic

  Music Group.” The press release further states that Julie Greenwald “oversees Atlantic Records”

  and “300 Elektra Entertainment,” which encompasses “Fueled By Ramen.”

         12.     Attached hereto as Exhibit 12 is a true and correct copy of a printout of the “Contact

  Us” webpage from Lava Records LLC’s website (available at the following URL:

  http://www.lavarecords.com/contact/), which states that its address is 1755 Broadway, New York,

  NY 10019. This webpage does not list any other office addresses for Lava Records LLC.

         13.     Attached hereto as Exhibit 13 is a true and correct copy of an amended complaint

  filed by Maverick Recording Company and others on February 14, 2020, captioned Warner

  Records Inc. et al. v Charter Communications Inc., Case No. 1:19-cv-00874 (D. Colo. 2019) (Dkt.

  123), which states that Maverick Recording Company’s principal place of business is 777 South

  Santa Fe Avenue, Los Angeles, California 90021.

         14.     Attached hereto as Exhibit 14 is a true and correct copy of Nonesuch Records Inc.’s

  2022 Annual Tax Report filed with the State of Delaware, which states that Nonesuch Records

  Inc.’s principal place of business is 1633 Broadway, New York, New York 10019. The 2022

  Annual Tax Report also states that 1633 Broadway, New York, New York 10019 is the location




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  of the following individuals: David Bither, President; Eric Levin, Director; Paul Robinson,

  Director; Trent Tappe, Director; and Michelle Stallone, Manager.

         15.     As noted, Exhibit 6 is a true and correct copy of a complaint filed by Rhino

  Entertainment Company and others on September 15, 2022, captioned Atlantic Recording Corp.

  et al. v Vital Pharm., Case No. 1:22-cv-22951 (S.D. Fla. 2022), which states that Rhino

  Entertainment Company’s principal place of business is 777 S. Santa Fe Avenue, Los Angeles,

  California.

         16.     As noted, Exhibit 6 is a true and correct copy of a complaint filed by Rhino

  Entertainment LLC and others on September 15, 2022, captioned Atlantic Recording Corp. et al.

  v Vital Pharm., Case No. 1:22-cv-22951 (S.D. Fla. 2022), which states that Rhino Entertainment

  LLC’s principal place of business is 777 S. Santa Fe Avenue, Los Angeles, California.

         17.     Attached hereto as Exhibit 15 is a true and correct copy of a printout of Roadrunner

  Records, Inc.’s 2022 Biennial Statement filed with the State of New York on November 17, 2022,

  which states that Roadrunner Records, Inc.’s principal place of business is 1633 Broadway, New

  York, New York 10019. The Biennial Statement also states that 1633 Broadway, New York, New

  York 10019 is the location of Roadrunner Records, Inc.’s CEO, Craig Kallman. As noted, Exhibit

  8 is a true and correct copy of a printout of an October 12, 2022 press release from WMG, which

  states that Julie Greenwald is the “Chairman & CEO of the newly created Atlantic Music Group.”

  The press release further states that Julie Greenwald “oversees Atlantic Records” and “300 Elektra

  Entertainment,” which encompasses “Roadrunner.”

         18.     Attached hereto as Exhibit 16 is a true and correct copy of a printout of Rykodisc,

  Inc.’s Business Record Details with the State of Minnesota (available at the following URL:

  https://mblsportal.sos.state.mn.us/Business/SearchDetails?filingGuid=7d90b399-abd4-e011-




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  a886-001ec94ffe7f), which states that Rykodisc, Inc.’s “Registered Office Address” is 1010 Dale

  St N, St Paul, MN 55117–5603. This Business Record Details also state that Rykodisc, Inc.’s

  “Principal Executive Office Address” is 777 South Santa Fe Ave, Los Angeles, CA 90021. This

  is the same location listed next to Mark Pinkus, the CEO.

         19.    Attached hereto as Exhibit 17 is a true and correct copy of Warner Music Inc.’s

  2022 Annual Tax Report filed with the State of Delaware, which states that Warner Music Inc.’s

  principal place of business is 1633 Broadway, New York, New York 10019. The 2022 Annual Tax

  Report also states that 1633 Broadway, New York, New York 10019 is the location of the

  following individuals: Eric Levin, CFO & Director; Paul Robinson, Director; Trent Tappe,

  Director; and Michelle Stallone, Manager.

         20.    Attached hereto as Exhibit 18 is a true and correct copy of Warner Music

  International Services Limited’s 2022 Annual Report and Financial Statements (available at the

  following                        URL:                          https://find-and-update.company-

  information.service.gov.uk/company/02258593/filing-history), which states that Warner Music

  International Services Limited’s “Registered Office” is located at Cannon Place, 78 Cannon

  Street, London. The 2022 Annual Report and Financial Statements further states that Warner

  Music International Services Limited’s directors are “R. Lougee,” “J. Radice,” “S. Rishi,” “P.

  Robinson,” and “C. Saxe.”

         21.    Attached hereto as Exhibit 19 is a true and correct copy of a printout of Warner

  Music Nashville LLC’s Filing Information with the Division of Business Services, Department of

  State, State of Tennessee, which states that Warner Music Nashville LLC’s “Principal Address” is

  20 Music Square East, Nashville, TN 37203-4344. Attached hereto as Exhibit 20 is a true and

  correct copy of a printout of a Warner Music Group press release dated June 2, 2022 (available at




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  the following URL: https://www.wmg.com/news/warner-music-nashville-announces-leadership-

  transition-36436), which states that Ben Kline and Cris Lacy are “Co-Presidents” of Warner Music

  Nashville. Attached hereto as Exhibit 21 is a true and correct copy of a printout from what appears

  to   be      Ben   Kline’s    LinkedIn    account     (available   at    the   following     URL:

  https://www.linkedin.com/in/benkline), which states that Ben Kline is a “Co-Chair/Co-President”

  at Warner Music Nashville and is based in Nashville, Tennessee. Attached hereto as Exhibit 22 is

  a true and correct copy of a printout from what appears to be Cris Lacy’s LinkedIn account

  (available at the following URL: https://www.linkedin.com/in/cris-lacy-508998120), which states

  that Cris Lacy is “VP A&R” at Warner Music Nashville and is based in Nashville, Tennessee.

         22.     Attached hereto as Exhibit 23 is a true and correct copy of Warner Records Inc.’s

  2022 Annual Tax Report filed with the State of Delaware, which states that Warner Records Inc.’s

  principal place of business is 777 South Santa Fe Avenue, Los Angeles, CA 90021. The 2022

  Annual Tax Report also states that 1633 Broadway, New York, New York 10019 is the location

  of the following individuals: Aaron Bay-Schuck, CEO; Eric Levin, Director; Paul Robinson,

  Director; Trent Tappe, Director; and Michelle Stallone, Manager.

         23.     Attached hereto as Exhibit 24 is a true and correct copy of Warner Records QRI

  Venture, Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that Warner

  Records QRI Venture, Inc.’s principal place of business is 777 South Santa Fe Avenue, Los

  Angeles, CA 90021. The 2022 Annual Tax Report also states that 1633 Broadway, New York,

  New York 10019 is the location of the following individuals: Kevin Gore, President; Eric Levin,

  Director; Paul Robinson, Director; Trent Tappe, Director; and Michelle Stallone, Manager.




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               B.       The “Sony Music Entertainment Plaintiffs”

         24.        Attached hereto as Exhibit 25 is a true and correct copy of a complaint filed by

  Arista Music and others on July 31, 2018, captioned Sony Music Entertainment et al. v Cox

  Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), which states that

  Arista Music’s principal place of business is 25 Madison Avenue, New York, NY, 10010. Attached

  hereto as Exhibit 26 is a true and correct copy of a printout of information from the United States

  Copyright Office’s website for a copyright registration for which Arista Music is listed as the

  “Copyright            Claimant”        (available          at         the         following         URL:

  https://publicrecords.copyright.gov/detailed-record/30513700). The printout lists an address for

  Arista Music as “c/o Sony Music Entertainment, 25 Madison Avenue, New York, NY, 10010,

  United States.”

         25.        As noted, Exhibit 25 is a true and correct copy of a complaint filed by Arista

  Records, LLC and others on July 31, 2018, captioned Sony Music Entertainment et al. v Cox

  Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), which states that

  Arista Records, LLC’s principal place of business is 25 Madison Avenue, New York, NY, 10010.

  Attached hereto as Exhibit 27 is a true and correct copy of a printout of information from the

  United States Copyright Office’s website for a copyright registration for which Arista Records,

  LLC    is    listed   as   the    “Copyright   Claimant”        (available   at   the   following   URL:

  https://publicrecords.copyright.gov/detailed-record/34784049). The printout states that Arista

  Records, LLC’s address is 25 Madison Avenue, New York, NY, 10010. Attached hereto as

  Exhibit 28 is a true and correct copy of a printout of the “Executives” webpage on Sony Music’s

  website (available at the following URL: https://www.sonymusic.com/executives/), which states

  that Arista Records’s President and CEO is David Massey. Attached hereto as Exhibit 29 is a true




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  and correct copy of a printout of a July 9, 2018 press release from Sony Music’s website (available

  at the following URL: https://www.sonymusic.com/sonymusic/sony-music-relaunches-arista-

  records-with-hitmaker-david-massey/), which states that David Massey “is based in New York.”

         26.      As noted, Exhibit 25 is a true and correct copy of a complaint filed by LaFace

  Records, LLC and others on July 31, 2018, captioned Sony Music Entertainment et al. v Cox

  Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), which states that

  LaFace Records, LLC’s principal place of business is 25 Madison Avenue, New York, NY, 10010.

  Attached hereto as Exhibit 30 is a true and correct copy of a printout of information from the

  United States Copyright Office’s website for a copyright registration for which LaFace Records,

  LLC    is    listed   as   the   “Copyright   Claimant”   (available   at   the   following   URL:

  https://publicrecords.copyright.gov/detailed-record/30439985). The printout lists an address for

  LaFace Records, LLC as “c/o Sony Music Entertainment, 25 Madison Avenue, New York, NY,

  10010, United States.”.

         27.      As noted, Exhibit 25 is a true and correct copy of a complaint filed by Sony Music

  Entertainment and others on July 31, 2018, captioned Sony Music Entertainment et al. v Cox

  Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), which states that

  Sony Music Entertainment’s headquarters and principal place of business is 25 Madison Avenue,

  New York, NY, 10010. Attached hereto as Exhibit 31 is a true and correct copy of a printout of

  information from the United States Copyright Office’s website for a copyright registration for

  which Sony Music Entertainment is listed as the “Copyright Claimant” (available at the following

  URL: https://publicrecords.copyright.gov/detailed-record/35847936). The printout states that

  Sony Music Entertainment’s address is 25 Madison Avenue, New York, NY, 10010. As noted,

  Exhibit 28 is a true and correct copy of a printout of the “Executives” webpage on Sony Music’s




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   website, which states that the following people are “Executives” at Sony Music Entertainment:

   Rob Stringer, CEO; Kevin Kelleher, COO; Amanda Collins, EVP & Global Head of Corporate

   Communications; Carmine Coppola, EVP & CFO; Andrew Davis, EVP & Global Chief People

   Experience Officer; Dennis Kooker, President, Global Digital Business & US Sales; Tom Mackay,

   President, Premium Content; Julie Swidler, EVP, Business Affairs & General Counsel; and

   Melissa Thomas, EVP of International Marketing, U.S. Repertoire. Attached hereto as Exhibit 32

   is a true and correct copy of Rule 26(a)(1) disclosures by the plaintiffs in the case captioned Sony

   Music Entertainment et al. v Cox Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA

   (E.D. Va. 2018), dated December 12, 2018, which states that the following people are “likely to

   have discoverable information”: Dennis Kooker, President, Global Digital Business & US Sales;

   Jeff Walker, Executive Vice President and Head, Business & Legal Affairs, Global Digital

   Business; Wade Leak, Executive Vice President, Finance and Operations; and Neil Carfora,

   Executive Vice President, Finance and Operations. Attached hereto as Exhibit 33 is a true and

   correct copy of a printout from what appears to be Kevin Kelleher’s LinkedIn account (available

   at the following URL: https://www.linkedin.com/in/kevintkelleher), which states that Kevin

   Kelleher is the ”evp&cfo” at Sony Music Entertainment and is located in Queens County, New

   York. Attached hereto as Exhibit 34 is a true and correct copy of a printout from what appears to

   be    Amanda      Collin’s    LinkedIn     account     (available   at   the    following     URL:

   https://www.linkedin.com/in/amandacollins), which states that Amanda Collins is located in New

   York, New York. Attached hereto as Exhibit 35 is a true and correct copy of a printout from what

   appears to be Carmine Coppola’s LinkedIn account (available at the following URL:

   https://www.linkedin.com/in/carmine-coppola-2bb5025), which states that Carmine Coppola is

   the “Executive Vice President & Chief Financial Officer” at Sony Music Entertainment in the




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   “Greater New York City Area” and is located in “New City, New York.” Attached hereto as

   Exhibit 36 is a true and correct copy of a printout from what appears to be Andrew Davis’s

   LinkedIn account (available at the following URL: https://www.linkedin.com/in/davisatl), which

   states that Andrew Davis works at Sony Music Entertainment and is located in Miami, Florida.

   Attached hereto as Exhibit 37 is a true and correct copy of a printout from what appears to be

   Dennis     Kooker’s      LinkedIn     account     (available    at    the     following     URL:

   https://www.linkedin.com/in/denniskooker), which states that Dennis Kooker works at Sony

   Music Entertainment and is located in Princeton Junction, New Jersey. Attached hereto as Exhibit

   38 is a true and correct copy of a printout of a Sony Music webpage for Tom Mackay (available

   at the following URL: https://www.sonymusic.com/executives/tom-mackay/), which states that

   Tom Mackay is “[b]ased in Los Angeles.” Attached hereto as Exhibit 39 is a true and correct copy

   of a printout from what appears to be Julie Swidler’s LinkedIn account (available at the following

   URL: https://www.linkedin.com/in/julie-swidler-8279134b), which states that Julie Swidler works

   at Sony Music Entertainment and is located in New York, New York. Attached hereto as Exhibit

   40 is a true and correct copy of a printout from what appears to be Melissa Thomas’s LinkedIn

   account (available at the following URL: https://www.linkedin.com/in/melissa-thomas-

   6812b74b), which states that Melissa Thomas works at Sony Music Entertainment and is located

   in New York, New York. Attached hereto as Exhibit 41 is a true and correct copy of a printout

   from what appears to be Sony Music Entertainment’s LinkedIn account (available at the following

   URL: https://www.linkedin.com/company/sony-music-entertainment), which states that Sony

   Music Entertainment has twenty-five locations, none of which are in Texas. Attached hereto as

   Exhibit 42 a true and correct copy of a printout from what appears to be Jeff Walker’s LinkedIn

   account (available at the following URL: https://www.linkedin.com/in/jeff-walker-95a2815),




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   which states that Jeff Walker works at Sony Music Entertainment and is located in New York,

   New York. Attached hereto as Exhibit 43 is a true and correct copy of a printout from what appears

   to be Wade Leak’s LinkedIn account (from the URL: https://www.linkedin.com/in/wade-leak-

   21347a6), which states that Wade Leak works at Sony Music Entertainment and is located in New

   York, New York. Attached hereto as Exhibit 44 is a true and correct copy of a printout from what

   appears to be Neil Carfora’s LinkedIn account (available at the following URL:

   https://www.linkedin.com/in/neil-carfora-5bab0023), which states that Neil Carfora works at Sony

   Music Entertainment and is located in New York, New York.

          28.     Attached hereto as Exhibit 45 is a true and correct copy of Sony Music

   Entertainment US Latin LLC’s 2023 Annual Report filed with the State of Florida, which states

   that Sony Music Entertainment US Latin LLC’s “Current Principal Place of Business” is 3390

   Mary Street, Suite 220, Coconut Grove, FL 33133. The Annual Report also states that Sony Music

   Entertainment US Latin LLC’s mailing address is “C/O Sony Music Entertainment, 25 Madison

   Avenue, New York, NY 10010, US.” As noted, Exhibit 25 is a true and correct copy of a complaint

   filed by Sony Music Entertainment US Latin LLC and others on July 31, 2018, captioned Sony

   Music Entertainment et al. v Cox Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA

   (E.D. Va. 2018), which states that Sony Music Entertainment US Latin LLC’s principal place of

   business is 3390 Mary Street, Coconut Grove, FL 33133. Attached hereto as Exhibit 46 is a true

   and correct copy of a printout of information from the United States Copyright Office’s website

   for a copyright registration for which Sony Music Entertainment US Latin LLC is listed as the

   “Copyright         Claimant”        (available        at        the       following         URL:

   https://publicrecords.copyright.gov/detailed-record/23615910). The printout states that Sony

   Music Entertainment US Latin LLC’s address is 3390 Mary Street, Coconut Grove, FL 33133.




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   Attached hereto as Exhibit 47 is a true and correct copy of a printout of an April 17, 2023 press

   release         from     Sony       Music’s   website       (available   at        the     following    URL:

   https://www.sonymusic.com/sonymusic/sony-music-us-latin-appoints-esteban-geller-as-general-

   manager), which states that Esteban Geller is the General Manager of Sony Music Entertainment

   US Latin LLC and is “based in Miami.” The press release further states that Sony Music

   Entertainment US Latin LLC’s President is Alex Gallardo.

             29.      Attached hereto as Exhibit 48 is a true and correct copy of a complaint filed by

   Ultra Records, LLC and others on October 31, 2023, captioned Sony Music Entertainment et al. v

   Ofra Cosmetics et al., Case No. 0:23-cv-62073-WPD (S.D. Fla. 2023), which states that Ultra

   Records, LLC’s principal place of business is 25 Madison Avenue, New York, New York 10010.

   Attached hereto as Exhibit 49 is a true and correct copy of a printout of information from the

   United States Copyright Office’s website for a copyright registration for which Ultra Records,

   LLC       is    listed   as   the    “Copyright   Claimant”     (available    at     the    following   URL:

   https://publicrecords.copyright.gov/detailed-record/31620573). The printout states that Ultra

   Records, LLC’s address is 235 W 23rd St, 6th Floor, New York, NY, 10011. Attached hereto as

   Exhibit 50 is a true and correct copy of a printout of a January 20, 2022 press release from Sony

   Music’s website (available at the following URL: https://www.sonymusic.com/sonymusic/david-

   waxman-president-of-ultra-records/), which states that David Waxman is the President of Ultra

   Records and is “[b]ased in New York.”

             30.      As noted, Exhibit 25 is a true and correct copy of a complaint filed by Volcano

   Entertainment III LLC and others on July 31, 2018, captioned Sony Music Entertainment et al. v

   Cox Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), which states




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   that Volcano Entertainment III LLC’s principal place of business is 25 Madison Avenue, New

   York, NY, 10010.

            31.        Attached hereto as Exhibit 25 a true and correct copy of a complaint filed by

   Zomba Recording LLC and others on July 31, 2018, captioned Sony Music Entertainment et al. v

   Cox Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), which states

   that Zomba Recording LLC’s principal place of business is 25 Madison Avenue, New York, NY,

   10010.

                  C.      The “Warner Chappell Plaintiffs”

            32.        Attached hereto as Exhibit 51 is a true and correct copy of Cotillion Music, Inc.’s

   2022 Annual Tax Report filed with the State of Delaware, which states that Cotillion Music, Inc.’s

   principal place of business is 777 South Santa Fe Avenue, Los Angeles, California 90021. The

   2022 Annual Tax Report also states that 777 South Santa Fe Avenue, Los Angeles, California

   90021 is the location of Chief Executive Officer Guy Moot. The 2022 Annual Tax Report states

   that 1633 Broadway, New York, New York 10019 is the location of the following individuals:

   Eric Levin, Director; Paul Robinson, Director; and Trent Tappe, Director. Attached hereto as

   Exhibit 52 is a true and correct copy of a printout of information from the United States Copyright

   Office’s website for a copyright registration for which Cotillion Music, Inc. is listed as the

   “Copyright             Claimant”         (available        at        the       following         URL:

   https://publicrecords.copyright.gov/detailed-record/28657076). The printout states that Cotillion

   Music, Inc.’s address is 10585 Santa Monica Blvd., Los Angeles, California 90025.

            33.        Attached hereto as Exhibit 53 is a true and correct copy of Gene Autry’s Western

   Music Publishing Co.’s Statement of Incorporation, dated April 8, 1983, and filed with the State

   of California, which shows Gene Autry’s Western Music Publishing Co. is incorporated in the




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   State of California. Attached hereto as Exhibit 54 is a true and correct copy of Gene Autry’s

   Western Music Publishing Co.’s Statement of Information, filed with the State of California on

   February 13, 2023, which states that 777 South Santa Fe Avenue, Los Angeles, California 90021

   is Gene Autry’s Western Music Publishing Co.’s “Principal Office.” The Statement of Information

   states that 777 South Santa Fe Avenue, Los Angeles, California 90021 is the location of Chief

   Executive Officer Guy Moot. The Statement of Information also states that 1633 Broadway, New

   York, New York 10019 is the location of the following individuals: Eric Levin, Chief Financial

   Officer and Director; Paul Robinson, Secretary and Director; and Trent Tappe, Director.

          34.     Attached hereto as Exhibit 55 is a true and correct copy of Golden West Melodies,

   Inc.’s Certificate of Amendment of Articles of Incorporation, dated March 28, 1966, and filed with

   the State of California, which shows Golden West Melodies, Inc. is incorporated in the State of

   California. Attached hereto as Exhibit 56 is a true and correct copy of copy of Golden West

   Melodies, Inc.’s Statement of Information, filed with the State of California on July 19, 2023,

   which states that 777 South Santa Fe Avenue, Los Angeles, California 90021 is Golden West

   Melodies, Inc.’s “Principal Office.” The Statement of Information states that 777 South Santa Fe

   Avenue, Los Angeles, California 90021 is the location of Chief Executive Officer Guy Moot and

   Chief Financial Officer David Woirhaye. The Statement of Information also states that 1633

   Broadway, New York, New York 10019 is the location of the following individuals: Thomas

   Marcotullio, Vice President; Eric Levin, Director; Paul Robinson, Secretary and Director; and

   Trent Tappe, Director.

          35.     Attached hereto as Exhibit 57 is a true and correct copy of Intersong U.S.A., Inc.’s

   2022 Annual Tax Report filed with the State of Delaware, which states that Intersong U.S.A.,

   Inc.’s principal place of business is 777 South Santa Fe Avenue, Los Angeles, California 90021.




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   The 2022 Annual Tax Report also states that 777 South Santa Fe Avenue, Los Angeles, California

   90021 is the location of Chief Executive Officer Guy Moot. The 2022 Annual Tax Report states

   that 1633 Broadway, New York, New York 10019 is the location of the following individuals:

   Eric Levin, Director; Paul Robinson, Director; and Trent Tappe, Director.

          36.    Attached hereto as Exhibit 58 is a true and correct copy of Unichappell Music

   Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that Unichappell

   Music Inc.’s principal place of business is 777 South Santa Fe Avenue, Los Angeles, California

   90021. The 2022 Annual Tax Report also states that 777 South Santa Fe Avenue, Los Angeles,

   California 90021 is the location of Chief Executive Officer Guy Moot. The 2022 Annual Tax

   Report states that 1633 Broadway, New York, New York 10019 is the location of the following

   individuals: Eric Levin, Director; Paul Robinson, Director; Michelle Stallone, Manager; and Trent

   Tappe, Director. Attached hereto as Exhibit 59 is a true and correct copy of a printout of

   information from the United States Copyright Office’s website for a copyright registration for

   which Unichappell Music Inc. is listed as the “Copyright Claimant” (available at the following

   URL: https://publicrecords.copyright.gov/detailed-record/34782547). The printout states that

   Unichappell Music Inc.’s address is 20 Music Square East, Nashville, Tennessee 37203.

          37.    Attached hereto as Exhibit 60 is a true and correct copy of copy of W Chappell

   Music Corp.’s Statement of Information, filed with the State of California on December 19, 2023,

   which states that 777 South Santa Fe Avenue, Los Angeles, California 90021 is W Chappell Music

   Corp.’s “Principal Office.” The Statement of Information states that 777 South Santa Fe Avenue,

   Los Angeles, California 90021 is the location of Chief Executive Officer Guy Moot and Chief

   Financial Officer David Woirhaye. The Statement of Information also states that 1633 Broadway,




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   New York, New York 10019 is the location of the following individuals: Bryan Castellani,

   Director; Paul Robinson, Secretary and Director; and Trent Tappe, Director.

          38.    Attached hereto as Exhibit 61 is a true and correct copy of a printout of information

   from the United States Copyright Office’s website for a copyright registration for which W.C.M.

   Music Corp. is listed as the “Copyright Claimant” (available at the following URL:

   https://publicrecords.copyright.gov/detailed-record/35864615). The printout states that W.C.M.

   Music Corp.’s address is 20 Music Square East, Nashville, Tennessee 37203.

          39.    Attached hereto as Exhibit 62 is a true and correct copy of Warner Chappell Music,

   Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that Warner Chappell

   Music, Inc.’s principal place of business is 777 South Santa Fe Avenue, Los Angeles, California

   90021. The 2022 Annual Tax Report also states that 777 South Santa Fe Avenue, Los Angeles,

   California 90021 is the location of Chief Executive Officer Guy Moot. The 2022 Annual Tax

   Report states that 1633 Broadway, New York, New York 10019 is the location of the following

   individuals: Eric Levin, Director; Paul Robinson, Director; Michelle Stallone, Manager; and Trent

   Tappe, Director. As noted, Exhibit 32 is a true and correct copy of Rule 26(a)(1) disclosures by

   the plaintiffs in in the case captioned Sony Music Entertainment et al. v Cox Communications Inc.

   et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018), dated December 12, 2018, which states

   that the following person is “likely to have discoverable information”: Jeremy Blietz, Vice

   President, Administration. Attached hereto as Exhibit 63 is a true and correct copy of a printout

   from what appears to be Jeremy Blietz’s LinkedIn account (available at the following URL:

   https://www.linkedin.com/in/jeremyblietz), which states that Jeremy Blietz works at Warner

   Chappell Music and is located in Los Angeles. Attached hereto as Exhibit 64 is a true and correct

   copy of a press release from Warner Music Group’s website (available at the following URL:




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   https://www.wmg.com/news/warner-music-nashville-warner-chappell-music-open-newly-

   renovated-offices-historic-music-row). The website shows that Warner Chappell Music has a

   location at 20 Music Square East, Nashville, Tennessee 37203.

          40.        As noted, Exhibit 11 is a true and correct copy of a complaint filed by Warner-

   Tamerlane Publishing Corp. and others on March 22, 2019, captioned Warner Bros. Records Inc.

   et al v. Charter Communications, Inc., Case No. 19-CV-874 (D. Colo. 2019), which states that

   Warner-Tamerlane Publishing Corp.’s principal place of business is 777 South Santa Fe Avenue,

   Los Angeles, California 90021. Attached hereto as Exhibit 65 is a true and correct copy of a

   printout of information from the United States Copyright Office’s website for a copyright

   registration for which Warner-Tamerlane Publishing Corp. is listed as the “Copyright Claimant”

   (from the URL: https://publicrecords.copyright.gov/detailed-record/35868405). The printout

   states that Warner-Tamerlane Publishing Corp.’s address is 20 Music Square East, Nashville,

   Tennessee 37203.

                D.      The “Sony Music Publishing Plaintiffs”

          41.        Attached hereto as Exhibit 66 is a true and correct copy of Colgems-EMI Music

   Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that Colgems-EMI

   Music Inc.’s principal place of business is 25 Madison Avenue, New York, NY 10010. The 2022

   Annual Tax Report also states that 25 Madison Avenue, New York, NY 10010 is the location of

   the following individuals: Thomas Scarpaci, Senior VP, and Thomas Kelly, Director. The 2022

   Annual Tax Report further states that Jonathan Platt, Director, is located at 10202 W. Washington

   Blvd., Culver City, CA 90232.

          42.        Attached hereto as Exhibit 67 is a true and correct copy of EMI April Music Inc.’s

   2023 Annual Report filed with the State of Connecticut, which states that EMI April Music Inc.’s




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   “Principal Office” is 25 Madison Avenue, New York, NY 10010. The report also states that 25

   Madison Avenue, New York, NY 10010 is the location of the following individuals: Thomas

   Kelly, CFO; Peter Brodsky, Secretary; Jonathan Platt, Chairman & CEO; Thomas Scarpaci, Senior

   VP; and Sudhira Vadlamani, VP.

          43.    Attached hereto as Exhibit 68 is a true and correct copy of EMI Blackwood Music

   Inc.’s 2023 Annual Report filed with the State of Connecticut, which states that EMI Blackwood

   Music Inc.’s “Principal Office” is 25 Madison Avenue, New York, NY 10010. The report also

   states that 25 Madison Avenue, New York, NY 10010 is the location of the following individuals:

   Jonathan Platt, Chairman & CEO; Thomas Kelly, CFO; Peter Brodsky, Secretary; Thomas

   Scarpaci, Senior VP; and Sudhira Vadlamani, VP.

          44.    Attached hereto as Exhibit 69 is a true and correct copy of EMI Consortium Music

   Publishing, Inc.’s 2022 Biennial Statement filed with the State of New York, which states that

   EMI Consortium Music Publishing, Inc.’s “Principal Executive Office” is 25 Madison Avenue,

   New York, NY 10010. The report also states that 25 Madison Avenue, New York, NY 10010 is

   the location of Jonathan Platt, CEO of EMI Consortium Music Publishing, Inc.

          45.    Attached hereto as Exhibit 70 is a true and correct copy of EMI Consortium Songs,

   Inc.’s 2022 Biennial Statement filed with the State of New York, which states that EMI

   Consortium Songs, Inc.’s “Principal Executive Office” is 25 Madison Avenue, New York, NY

   10010. The report also states that 25 Madison Avenue, New York, NY 10010 is the location of

   Jonathan Platt, CEO of EMI Consortium Songs, Inc.

          46.    Attached hereto as Exhibit 71 is a true and correct copy of EMI Entertainment

   World Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that EMI

   Entertainment World Inc.’s principal place of business is 25 Madison Avenue, New York, NY




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   10010. The report also states that 25 Madison Avenue, New York, NY 10010 is the location of the

   following individuals: Thomas Scarpaci, Senior VP, and Thomas Kelly, Director. The report

   further states that Jonathan Platt, Director, is located at 10202 W. Washington Blvd., Culver City,

   CA 90232.

          47.     Attached hereto as Exhibit 72 is a true and correct copy of EMI Gold Horizon

   Music Corp.’s 2023 Biennial Statement filed with the State of New York, which states that EMI

   Gold Horizon Music Corp.’s “Principal Executive Office” is 25 Madison Avenue, New York, NY

   10010. The report also states that 25 Madison Avenue, New York, NY 10010 is the location of

   Jonathan Platt, CEO of EMI Gold Horizon Music Corp.

          48.     Attached hereto as Exhibit 73 is a true and correct copy of EMI Miller Catalog

   Inc.’s 2023 Biennial Statement filed with the State of New York, which states that EMI Miller

   Catalog Inc.’s “Principal Executive Office” is 25 Madison Avenue, New York, NY 10010. The

   report also states that 25 Madison Avenue, New York, NY 10010 is the location of Jonathan Platt,

   CEO of EMI Miller Catalog Inc.

          49.     Attached hereto as Exhibit 74 is a true and correct copy of EMI Mills Music Inc.’s

   2022 Annual Tax Report filed with the State of Delaware, which states that EMI Mills Music Inc.’s

   principal place of business is 25 Madison Avenue, New York, NY 10010. The report also states

   that 25 Madison Avenue, New York, NY 10010 is the location of the following individuals:

   Thomas Scarpaci, Senior VP, and Thomas Kelly, Director. The report further states that Jonathan

   Platt, Director, is located at 10202 W. Washington Blvd., Culver City, CA 90232.

          50.     Attached hereto as Exhibit 75 is a true and correct copy of EMI Robbins Catalog

   Inc.’s 2019 Biennial Statement filed with the State of New York, which states that EMI Robbins

   Catalog Inc.’s “Principal Executive Office” is 25 Madison Avenue, New York, NY 10010. The




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   report also states that 25 Madison Avenue, New York, NY 10010 is the location of Jonathan Platt,

   CEO of EMI Robbins Catalog Inc.

           51.     Attached hereto as Exhibit 76 is a true and correct copy of a complaint filed by

   EMI U Catalog Inc. and others on December 18, 2023, captioned Sony Music Publishing (US)

   LLC et al. v Priddis, Case No. 2:23-ap-00250-PS (D. Ariz. 2023), which states that EMI U Catalog

   Inc.’s principal place of business is 245 Fifth Avenue, Suite 1101, New York NY 10016. Attached

   hereto as Exhibit 77 is a true and correct copy of EMI U Catalog Inc.’s 2019 Biennial Statement

   filed with the State of New York, which states that 25 Madison Avenue, New York, NY 10010 is

   the location of Jonathan Platt, CEO of EMI U Catalog Inc.

           52.     Attached hereto as Exhibit 78 is a true and correct copy of EMI UNART Catalog

   Inc.’s 2023 Biennial Statement filed with the State of New York, which states that EMI UNART

   Catalog Inc.’s “Principal Executive Office” is 25 Madison Avenue, New York, NY 10010. The

   report also states that 25 Madison Avenue, New York, NY 10010 is the location of Jonathan Platt,

   CEO of EMI UNART Catalog Inc.

           53.     Attached hereto as Exhibit 79 is a true and correct copy of a printout of information

   from the United States Copyright Office’s website for a copyright registration for which Famous

   Music     LLC      is    listed   as     the    “Copyright     Claimant”      (from    the     URL:

   https://publicrecords.copyright.gov/detailed-record/21847779?associatedRecords=Famous Music

   LLC). The printout states that Famous Music LLC’s address is 10635 Santa Monica Blvd., Suite

   300, Los Angeles, CA 90025.

           54.     As noted, Exhibit 76 is a true and correct copy of a complaint filed by Jobete Music

   Co., Inc. and others on December 18, 2023, captioned Sony Music Publishing (US) LLC et al. v

   Priddis, Case No. 2:23-ap-00250-PS (D. Ariz. 2023), which states that Jobete Music Co., Inc.’s




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   principal place of business is 245 Fifth Avenue, Suite 1101, New York NY 10016. Attached hereto

   as Exhibit 80 is a true and correct copy of Jobete Music Co., Inc.’s 2023 Annual Report filed with

   the Michigan Department of Licensing and Regulatory Affairs, which states that 25 Madison

   Avenue, New York, NY 10010 is the location of Jonathan Platt, President and Director of Jobete

   Music Co., Inc.

          55.     Attached hereto as Exhibit 81 is a true and correct copy of Screen Gems-EMI

   Music Inc.’s 2022 Annual Tax Report filed with the State of Delaware, which states that Screen

   Gems-EMI Music Inc.’s principal place of business is 25 Madison Avenue, New York, NY 10010.

   The report also states that 25 Madison Avenue, New York, NY 10010 is the location of the

   following individuals: Thomas Scarpaci, Senior VP, and Thomas Kelly, Director. The report

   further states that Jonathan Platt, Director, is located at 10202 W. Washington Blvd., Culver City,

   CA 90232. Attached as Exhibit 82 is a true and correct copy of Screen Gems-EMI Music Inc.’s

   2024 company information filed with the Government of the United Kingdom (available at the

   following                         URL:                          https://find-and-update.company-

   information.service.gov.uk/company/00188714), which states that Screen Gems-EMI Music Inc.

   has an office located at 4 Handyside Street, London, England, N1C 4DJ. Attached as Exhibit 83

   is a true and correct copy of a printout of Screen Gems-EMI Music Inc.’s officers’ information

   filed with the Government of the United Kingdom (available at the following URL: https://find-

   and-update.company-information.service.gov.uk/company/00188714/officers), which states that

   4 Handyside Street, London, England, N1C 4DJ is the location of the following individuals: Guy

   Robert Henderson, Director, and Timothy William Major, Director.

          56.     As noted, Exhibit 76 is a true and correct copy of a complaint filed by Sony Music

   Publishing (US) LLC and others on December 18, 2023, captioned Sony Music Publishing (US)




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   LLC et al. v Priddis, Case No. 2:23-ap-00250-PS (D. Ariz. 2023), which states that Sony Music

   Publishing (US) LLC’s “[p]rimary office for licensing and administration of its music copyrights“

   is located at 424 Church St., Nashville, TN 37219. Attached hereto as Exhibit 84 is a true and

   correct copy of a printout from what appears to be Sony Music Publishing’s LinkedIn account

   (available at the following URL: https://www.linkedin.com/company/sonymusicpub), which

   states that Sony Music Publishing’s primary location is 25 Madison Avenue, 24th Floor, New

   York NY 10010. This webpage further states that Sony Music Publishing has locations at the

   following additional addresses: 8 Music Square West, Nashville, TN 37203; 30 Golden Square,

   London, UK W1F 9LD; and 10635 Santa Monica Blvd., Suite 300, Los Angeles, CA 90025.

   Attached hereto as Exhibit 85 is a true and correct copy of a printout from what appears to be Lori

   Adler’s         LinkedIn       account      (available       at      the      following       URL:

   https://www.linkedin.com/in/loriadler), which states that Lori Adler is the “Vice President,

   Business Affair” at Sony Music Publishing and is located in New York, New York.

             57.    As noted, Exhibit 11 is a true and correct copy of a complaint filed by Stone Agate

   Music and others on March 22, 2019, captioned Warner Records Inc. et al. v Charter

   Communications Inc., Case No. 1:19-cv-00874 (D. Colo. 2019), which states that Stone Agate

   Music is “a division of Jobete” and that Jobete’s principal place of business is 25 Madison Avenue,

   New York, New York 10010. Attached hereto as Exhibit 76 is a true and correct copy of a

   complaint filed by Jobete Music Co., Inc. and others on December 18, 2023, captioned Sony Music

   Publishing (US) LLC et al. v Priddis, Case No. 2:23-ap-00250-PS (D. Ariz. 2023), which states

   that Jobete Music Co., Inc.’s principal place of business is 245 Fifth Avenue, Suite 1101, New

   York NY 10016.




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             58.      As noted, Exhibit 76 is a true and correct copy of a complaint filed by Stone

   Diamond Music Corp. and others on December 18, 2023, captioned Sony Music Publishing (US)

   LLC et al. v Priddis, Case No. 2:23-ap-00250-PS (D. Ariz. 2023), which states that Stone Diamond

   Music Corp.’s principal place of business is 245 Fifth Avenue, Suite 1101, New York NY 10016.

   Attached hereto as Exhibit 86 is a true and correct copy of Stone Diamond Music Corp.’s 2023

   Annual Report filed with the Michigan Department of Licensing and Regulatory Affairs, which

   states that 25 Madison Avenue, New York, NY 10010 is the location of Jonathan Platt, President

   and Director of Stone Diamond Music Corp.

      III.         THIRD PARTIES

             59.      Attached hereto as Exhibit 87 is a true and correct copy of a declaration signed by

   William K. Birnie, Chief Revenue Officer of OpSec Online LLC (“OpSec”), in the case captioned

   BMG Rights Management (US) et al. v. Altice USA, Inc., No. 2:23-mc-00181 (C.D. Cal. 2023)

   (Dkt. 10-2), which states that OpSec’s principal place of business is in Meridian, Idaho. Attached

   hereto as Exhibit 88 is a true and correct copy of a printout from OpSec’s website (available at

   the URL: https://www.opsecsecurity.com/contact-us/), which states that the address of its

   Meridian, ID location is 3540 E. Longwing Lane, Ste. 300, Meridian, ID 83646.

             60.      Attached hereto as Exhibit 89 is a true and correct copy of a press release from

   OpSec,          dated    January     3,     2020      (available    at    the     following     URL:

   https://www.opsecsecurity.com/opsec-security-completes-acquisition-of-markmonitor-brand-

   protection/), which notes that “OpSec Security, an Investcorp portfolio company, and Clarivate

   Analytics announced a definitive agreement to acquire the MarkMonitor brand protection,

   antipiracy and antifraud businesses.” It further states that “[t]he combined OpSec and

   MarkMonitor online brand protection entity will be rebranded as OpSec Online™.”




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          61.     Attached hereto as Exhibit 90 is a true and correct copy of a printout from the

   website of the Delaware Department of State Division of Corporations, which states that Audible

   Magic Corporation (“Audible Magic”) is incorporated in Delaware. Attached hereto as Exhibit 91

   is a true and correct copy of a page from Audible Magic’s website (available at the following URL:

   https://www.audiblemagic.com/contact/), which states that Audible Magic’s headquarters is at 985

   University Avenue, Suite 35, Los Gatos, CA 95032.

          62.     Attached hereto as Exhibit 92 is a true and correct copy of a printout from the New

   York State Department of State, Division of Corporations entity information search website that

   states that the Recording Industry Association of America (“RIAA”) is a New York not-for-profit

   corporation. Attached hereto as Exhibit 93 is a true and correct copy of the following article:

   Olson, Cathy Applefeld, Inside the RIAA’s New D.C. Headquarters, Where Members of Congress

   Can Come to Play (May 25, 2022), Billboard, available at https://www.billboard.com/pro/riaa-

   new-headquarters-washington-dc/. Attached hereto as Exhibit 94 is a true and correct copy of

   copy of RIAA’s Statement of Information, filed with the State of California on April 28, 2023,

   which states that it was formed in New York and its “Principal Office” is located at 1000 F Street

   NW, 2nd Floor, Washington, DC 20004.

          63.     Attached hereto as Exhibit 95 is a true and correct copy of a printout from RIAA’s

   “Resources and Learning – Copyright Infringement Notices” website (available at the following

   URL: https://www.riaa.com/resources-learning/copyright-notices/), which states that the RIAA

   sends notices to ISPs on behalf of its member companies. See, e.g., id. (“The notice you received

   from your Internet Service Provider about a copyright infringement complaint from us does not

   mean you are being sued. It is a warning that we have detected unlawful downloading or

   distribution from your computer and it is meant to put you on notice that this activity should stop.




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   If you fail to heed this warning and continue to illegally download and share copyrighted material

   then you do expose yourself to being sued for damages arising from copyright infringement.”).

   Attached hereto as Exhibit 96 is a true and correct copy of a printout from RIAA’s “About RIAA

   – RIAA Members” website (available at the following URL: https://www.riaa.com/about-

   riaa/riaa-members/), which list many Plaintiffs as member companies.

          64.     Attached hereto as Exhibit 97 is a true and correct copy of the Center for Copyright

   Information, Inc. (“CCI”)’s Form 990, dated November 19, 2018, which lists CCI’s address as

   1301 K. Street NW, STE. 900E, Washington, DC 20005. Attached hereto as Exhibit 98 is a true

   and correct copy of the Statement of Jill Lesser, Executive Director, The Center for Copyright

   Information, titled The Role of Voluntary Agreements in the U.S. Intellectual Property Systems,

   U.S. House of Representatives, Committee on the Judiciary, Subcommittee on Courts, Intellectual

   Property, and the Internet, dated September 18, 2013. Ms. Lesser confirms that she is the

   “Executive Director of the Center for Copyright Information.” Ms. Lesser also states that “The

   Center for Copyright Information (CCI) was established in 2011 as part of a ground-breaking

   voluntary initiative among the nation’s five leading internet service providers (ISPs) and virtually

   the entire movie and music industries. The agreement among the parties set out to stem the tide

   of digital piracy by accomplishing two goals: 1) establishing the Copyright Alert System (CAS);

   and 2) creating an organization that could educate users about the importance of protecting digital

   content, while offering them a better way to find movies and music online safely and legally.”

   Attached hereto as Exhibit 99 is a true and correct copy of a printout from what appears to be Ms.

   Lesser’s LinkedIn account (at the following URL: https://www.linkedin.com/in/jill-lesser-

   76335616/). It states from 2011 – 2015, Ms. Lesser was the “Executive Director” for “CENTER




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   FOR COPYRIGHT INFORMATION INC” in the “Washington D.C. Metro Area.” It also states

   Ms. Lesser is located in Chevy Chase, Maryland.

          65.     As noted, Exhibit 32 is a true and correct copy of the plaintiffs’ Rule 26(a)(1)

   disclosures in the case captioned Sony Music Entertainment et al. v Cox Communications Inc. et

   al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018) (Dkt. 75-12), dated December 12, 2018,

   which identify the following people and entities who are “likely to have discoverable information”:

   Dennis Kooker, President, Global Digital Business & US Sales, Sony Music Entertainment; Jeff

   Walker, Executive Vice President and Head, Business & Legal Affairs, Global Digital Business,

   Sony Music Entertainment; Wade Leak, Senior Vice President, Deputy General Counsel and Chief

   Compliance, Ethics and Privacy Officer, Sony Music Entertainment; Jon Glass, Senior Vice

   President, Digital Legal Affairs, Warner Music Group; Matt Flott, Chief Financial Officer, Global

   Finance Analysis & Operations, Warner Music Group; Michael Abitbol, Senior Vice President,

   Business & Legal Affairs, Digital, Sony/ATV Music Publishing; Audrey Ashby, Vice President,

   Business Affairs at Sony/ATV Music Publishing; MarkMonitor; and Recording Industry

   Association of America. The plaintiffs in that case also identify the following categories of

   documents they may use to support their claims or defenses: “Copyright registrations of Plaintiffs’

   works and/or other documents showing ownership or control of those works;” “Documents

   concerning the infringement of Plaintiffs’ copyrighted works;” “Documents concerning Cox’s

   knowledge of infringement of Plaintiffs’ copyrighted works;” and “Documents to be produced by

   Cox concerning Cox’s copyright abuse policies and procedures and Defendants’ financials.”

   Exhibit 100 is intentionally omitted.

          66.     Attached hereto as Exhibit 101 is a true and correct copy of the plaintiffs’ Rule

   26(a)(1) disclosures in the case captioned UMG Recordings, Inc. et al. v. Bright House Networks,




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   LLC, Case No. 8:19-cv-710 (M.D. Fla. 2019) (Dkt. 65-9), dated June 19, 2019, which identified

   the following people and entities who are “likely to have discoverable information”: Jonathan

   Glass, Senior Vice President, Digital Legal Affairs, Warner Music Group; Matt Flott, Chief

   Financial Officer, Recorded Music, Warner Music Group; Jeff Walker, Executive Vice President

   and Head, Business & Legal Affairs, Global Digital Business, Sony Music Entertainment; Wade

   Leak, Senior Vice President, Deputy General Counsel and Chief Compliance, Ethics and Privacy

   Officer, Sony Music Entertainment; Neil Carfora, Executive Vice President, Finance and

   Operations, Sony Music Entertainment; Michael Abitbol, Senior Vice President, Business & Legal

   Affairs, Digital, Sony/ATV Music Publishing; Audrey Ashby, Vice President, Business Affairs at

   Sony/ATV Music Publishing; MarkMonitor; and Recording Industry Association of America. The

   plaintiffs in that case also identify the following category of documents they may use to support

   their claims or defenses: “Copyright registrations of Plaintiffs’ sound recordings and musical

   compositions and/or other documents showing ownership and/or control of those copyrighted

   works.”

          67.    Attached hereto as Exhibit 102 is a true and correct copy of the plaintiffs’ Rule

   26(a)(1) disclosures in the case captioned Warner Records Inc. et al. v. Charter Communications,

   Inc., Case No. 1:19-cv-00874 (D. Colo. 2019) (Dkt. 437-5), dated June 6, 2019, which identified

   the following people and entities who are “likely to have discoverable information”: Jonathan

   Glass, Senior Vice President, Digital Legal Affairs, Warner Music Group; Matt Flott, Chief

   Financial Officer, Recorded Music, Warner Music Group; Jeff Walker, Executive Vice President

   and Head, Business & Legal Affairs, Global Digital Business, Sony Music Entertainment; Wade

   Leak, Senior Vice President, Deputy General Counsel and Chief Compliance, Ethics and Privacy

   Officer, Sony Music Entertainment; Neil Carfora, Executive Vice President, Finance and




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   Operations, Sony Music Entertainment; Michael Abitbol, Senior Vice President, Business & Legal

   Affairs, Digital, Sony/ATV Music Publishing; Audrey Ashby, Vice President, Business Affairs at

   Sony/ATV Music Publishing; MarkMonitor; and Recording Industry Association of America. The

   plaintiffs in that case also identify the following category of documents they may use to support

   their claims or defenses: “Copyright registrations of Plaintiffs’ sound recordings and musical

   compositions and/or other documents showing ownership and/or control of those copyrighted

   works.”

          68.     Attached hereto as Exhibit 103 is a true and correct copy of the Updated Witness

   List filed by the plaintiffs in the case captioned Sony Music Entertainment et al. v Cox

   Communications Inc. et al., Case No. 1:18-cv-00950-PTG-JFA (E.D. Va. 2018) (Dkt. 614), which

   identifies the following people as witnesses the plaintiffs in that case expect to present at trial:

   Michael Abitbol, Matt Flott, Dennis Kooker, and Wade Leak. The plaintiffs in that case also

   identify the following people as witnesses who they may call to testify at trial: Neil Carfora, Tom

   Foley, Jon Glass, and Jeff Walker.

          69.     Attached hereto as Exhibit 104 is a true and correct copy of the Witness List filed

   by the plaintiffs in the case captioned UMG Recordings, Inc. et al., v. Grande Communications

   Networks LLC, Case No. 1:17-cv-00365-DAE (W.D. Tex. 2017) (Dkt. 302-5), which identifies

   the following people as witnesses whom the plaintiffs in that case will call at trial: Matthew Flott,

   Wade Leak, and Jeff Walker. the plaintiffs in that case also identified the following people as

   witnesses whom plaintiffs may call at trial: Neil Carfora and Jonathan Glass.

          70.     Attached hereto as Exhibit 105 is a true and correct copy of the list of witnesses

   for the jury trial in the case captioned UMG Recordings, Inc. et al., v. Grande Communications

   Networks LLC, Case No. 1:17-cv-00365-DAE (W.D. Tex. 2017) (Dkt. 450), which identifies the




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   following people as witnesses for the plaintiffs in that case: Jeff Walker, Wade Leak, and Matt

   Flott.

             71.        Attached hereto as Exhibit 106 is a true and correct copy of the Amended Witness

   List filed by the plaintiffs in the case captioned UMG Recordings, Inc. et al. v. Bright House

   Networks, LLC, Case No. 8:19-cv-710 (M.D. Fla. 2019) (Dkt. 664-4), which identifies witnesses

   (and their locations) whom the plaintiffs in that case expected to call: Matthew Flott (509 Garfield

   Ave, Avon By The Sea, NJ 07717) and Wade Leak (39 East 19th Street, Apt. 6, New York, NY

   10003). The plaintiffs in that case also identify the following person (and his location) whom they

   may call as a witness: Michael Abitbol (555 West 23rd St., Apt. N-4F, New York, NY 10011).

             72.        Attached hereto as Exhibit 107 is a true and correct copy of a printout from what

   appears     to       be   Jon   Glass’s   LinkedIn    account   (available   at   the   following   URL:

   https://www.linkedin.com/in/jonglass), which states that Jon Glass works at Warner Music Group

   and is located in the New York City Metropolitan Area. Attached hereto as Exhibit 108 is a true

   and correct copy of a printout from what appears to be Audrey Ashby’s LinkedIn account

   (available at the following URL: https://www.linkedin.com/in/audrey-ashby-39a70929), which

   states that Audrey Ashby works at Sony Music Publishing and is located in New York, New York.

       IV.         TRAVEL INFORMATION

                   A.        Travel for Named Parties

             73.        Attached hereto as Exhibit 109 is a true and correct copy of a map generated using

   Google Maps showing the distances from 1633 Broadway, New York, New York 10019 to the

   Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 4.50 miles and the distance to the

   Eastern District of Texas is approximately 1,259 miles.




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          74.     Attached hereto as Exhibit 110 is a true and correct copy of a map generated using

   Google Maps showing the distances from 1755 Broadway, New York, New York 10019 to the

   Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 4.70 miles and the distance to the

   Eastern District of Texas is approximately 1,260 miles.

          75.     Attached hereto as Exhibit 111 is a true and correct copy of a map generated using

   Google Maps showing the distances from 25 Madison Avenue, New York, New York 10010 to

   the Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 3 miles and the distance to the

   Eastern District of Texas is approximately 1,258 miles.

          76.     Attached hereto as Exhibit 112 is a true and correct copy of a map generated using

   Google Maps showing the distances from 235 West 23rd Street, New York, New York 10011 to

   the Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 3.30 miles and the distance to the

   Eastern District of Texas is approximately 1,258 miles.

          77.     Attached hereto as Exhibit 113 is a true and correct copy of a map generated using

   Google Maps showing the distances from 71 West 23rd Street, New York, New York 10010 to the

   Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 3.17 miles and the distance to the

   Eastern District of Texas is approximately 1,259 miles.

          78.     Attached hereto as Exhibit 114 is a true and correct copy of a map generated using

   Google Maps showing the distances from 245 Fifth Avenue, Suite 1101, New York, New York

   10016 to the Eastern District of New York and to the Eastern District of Texas. These maps reflect




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   that the distance to the Eastern District of New York is approximately 3.27 miles and the distance

   to the Eastern District of Texas is approximately 1,258 miles.

          79.     Attached hereto as Exhibit 115 is a true and correct copy of Google Flights data

   reflecting that there are no direct flights between New York, NY and GGG. Most flights to GGG

   from New York have either one or two stops, and total travel time ranges from 6 hours to 22 hours.

   The Google Flights data also reflects that there are no direct flights between New York, NY and

   SHV. Most flights from New York to SHV have one or two stops, and total travel time ranges

   from 6 hours and 30 minutes to 15 hours. Attached hereto as Exhibit 116 is a true and correct copy

   of Google Flights data showing flights between New York, NY and DFW. Many of the flights are

   nonstop, with an average travel time of approximately 4 hours and 15 minutes.

          80.     Attached hereto as Exhibit 117 is a true and correct copy of a map generated using

   Google Maps showing the distances from 777 South Santa Fe Avenue, Los Angeles, California

   90021 to the Eastern District of New York and to the Eastern District of Texas. 1 These maps reflect

   that the distance to the Eastern District of New York is approximately 2,447 miles and the distance

   to the Eastern District of Texas is approximately 1,379 miles.

          81.     Attached hereto as Exhibit 118 is a true and correct copy of a map generated using

   Google Maps showing the distances from 10585 Santa Monica Blvd., Los Angeles, California

   90025 to the Eastern District of New York and to the Eastern District of Texas. These maps reflect

   that the distance to the Eastern District of New York is approximately 2,456 miles and the distance

   to the Eastern District of Texas is approximately 1,391 miles.




   1
    Distances relative to the Eastern District of Texas are to the courthouse in Marshall, TX.
   Distances relative to the Eastern District of New York are measured from its main courthouse in
   Brooklyn, NY.


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          82.       Attached hereto as Exhibit 119 is a true and correct copy of a map generated using

   Google Maps showing the distances from 10635 Santa Monica Blvd., Los Angeles, California

   90025 to the Eastern District of New York and to the Eastern District of Texas. These maps reflect

   that the distance to the Eastern District of New York is approximately 2,460 miles and the distance

   to the Eastern District of Texas is approximately 1,392 miles.

          83.       Attached hereto as Exhibit 120 is a true and correct copy of Google Flights data

   reflecting that there are many direct flights between Los Angeles, CA and New York, NY, with an

   average travel time of approximately 5 hours and 30 minutes. Attached hereto as Exhibit 121 is a

   true and correct copy of Google Flights data reflecting that there are no direct flights between Los

   Angeles, CA and GGG. Most flights to GGG from Los Angeles have either one or two stops, and

   total travel time ranges from 5 hours to 12 hours. Most flights from Los Angeles to SHV have one

   stop, and total travel time ranges from 5 hours and 15 minutes to 8 hours. Attached hereto as

   Exhibit 122 is a true and correct copy of Google Flights data showing that there are many direct

   flights between Los Angeles, CA and DFW, with an average travel time of approximately 3 hours

   and 5 minutes.

          84.       Attached hereto as Exhibit 123 is a true and correct copy of maps generated using

   Google Maps showing the distance from the Eastern District of Texas to nearby airports. The

   distance from GGG to EDTX is approximately 28 miles, and travel time by car is approximately

   31 minutes. The distance from SHV to the Eastern District of Texas is approximately 35 miles,

   and the travel time by car is approximately 37 minutes. The distance between DFW and the Eastern

   District of Texas is approximately 172 miles, and travel time by car is approximately 2 hours and

   30 minutes.




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          85.        Attached hereto as Exhibit 124 is a true and correct copy of maps generated using

   Google Maps showing the distance from the Eastern District of New York to nearby airports. The

   distance from JFK to EDNY is approximately 18 miles, travel time by car is approximately 38

   minutes, and travel time by public transit is approximately 1 hour and 20 minutes. The distance

   from LGA to EDNY is approximately 10 miles, travel time by car is approximately 21 minutes,

   and travel time by public transit is approximately 1 hour and 10 minutes.

                B.      Travel for Third Parties

          86.        Attached hereto as Exhibit 125 is a true and correct copy of a map generated using

   Google Maps showing the distances from 3540 East Longwing Lane, Meridian, Idaho 83646 to

   the Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 2,160 miles and the distance to the

   Eastern District of Texas is approximately 1,413 miles. 3540 East Longwing Lane, Meridian,

   Idaho 83646 is the principal place of business for OpSec. Attached hereto as Exhibit 126 is a true

   and correct copy of Google Flights data reflecting that there are many flights between Boise, ID

   (which is adjacent to Meridian, ID) and New York, NY, all of which have one or two stops and a

   travel time ranging from 6 hours to 14 hours. Attached hereto as Exhibit 127 is a true and correct

   copy of Google Flights data reflecting that there are no direct flights between Boise, ID and GGG.

   All flights to GGG from Boise have either one or two stops, and total travel time ranges from 6

   hours and 40 minutes to 15 hours. The Google Flights data also reflects that there are no direct

   flights between Boise, ID and SHV. All flights from Boise to SHV have one or two stops, and total

   travel time ranges from 5 hours and 15 minutes to 10 hours and 45 minutes. Attached hereto as

   Exhibit 128 is a true and correct copy of Google Flights data showing flights between Boise, Idaho




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   and DFW, all of which are either nonstop or have one stop. Travel time ranges from approximately

   3 hours and 20 minutes to 11 hours.

          87.     Attached hereto as Exhibit 129 is a true and correct copy of a map generated using

   Google Maps showing the distances from 985 University Avenue, Los Gatos, California 95032 to

   the Eastern District of New York and to the Eastern District of Texas. These maps reflect that the

   distance to the Eastern District of New York is approximately 2,558 miles and the distance to the

   Eastern District of Texas is approximately 1,592 miles. 85 University Avenue, Los Gatos,

   California 95032 is the principal place of business for Audible Magic. Attached hereto as Exhibit

   130 is a true and correct copy of Google Flights data reflecting that there are many direct flights

   between San Francisco, CA (which is adjacent to Los Gatos, CA) and New York, NY, with an

   average travel time of approximately 5 hours and 30 minutes. Attached hereto as Exhibit 131 is a

   true and correct copy of Google Flights data reflecting that there are no direct flights between San

   Francisco, CA and GGG. Most flights to GGG from San Francisco have either one or two stops,

   and total travel time ranges from 6 hours to 14 hours. The Google Flights data also reflects that

   there are no direct flights between San Francisco, CA and SHV. All flights from San Francisco to

   SHV have one or two stops, and total travel time ranges from 6 hours to 10 hours and 15 minutes.

   Attached hereto as Exhibit 132 is a true and correct copy of Google Flights data showing flights

   from San Francisco, CA to DFW, for which there are many nonstop slights. The average travel

   time is approximately 3 hours and 30 minutes.

          88.     Attached hereto as Exhibit 133 is a true and correct copy of a map generated using

   Google Maps showing the distances from 1000 F St. NW, Washington, District of Columbia 20004

   to the Eastern District of New York and to the Eastern District of Texas. These maps reflect that

   the distance to the Eastern District of New York is approximately 203 miles and the distance to




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   the Eastern District of Texas is approximately 1,066 miles. 1000 F St. NW, Washington, District

   of Columbia 20004 is the principal place of business for the RIAA.

          89.     Attached hereto as Exhibit 134 is a true and correct copy of a map generated using

   Google Maps showing the distances from 1025 F St. NW, Washington, District of Columbia 20004

   to the Eastern District of New York and to the Eastern District of Texas. These maps reflect that

   the distance to the Eastern District of New York is approximately 203 miles and the distance to

   the Eastern District of Texas is approximately 1,066 miles. 1025 F St. NW, Washington, District

   of Columbia 20004 is the principal place of business for the CCI.

          90.     Attached hereto as Exhibit 135 is a true and correct copy of Google Flights data

   reflecting that there are many direct flights between Washington, DC and New York, NY, with an

   average travel time of approximately 1 hour and 30 minutes. Attached hereto as Exhibit 136 is a

   true and correct copy of Google Flights data reflecting that there are no direct flights between

   Washington, DC and GGG. Most flights to GGG from Washington, DC have either one or two

   stops, and total travel time ranges from 6 hours to 15 hours. The Google Flights data also reflects

   that there are no direct flights between Washington, DC and SHV. All flights from Washington,

   DC to SHV have one or two stops, and total travel time ranges from 5 hours and 30 minutes to 7

   hours and 30 minutes. Attached hereto as Exhibit 137 is a true and correct copy of Google Flights

   data reflecting that there are many direct flights between Washington, DC and DFW, with an

   average travel time of approximately 3 hours and 45 minutes.

          91.     Attached hereto as Exhibit 138 is a true and correct copy of Google Flights data

   reflecting that there are many direct flights between St. Louis, MO (which is adjacent to

   Chesterfield, MO) and New York, NY, with an average travel time of approximately 2 hours and

   30 minutes. Attached hereto as Exhibit 139 is a true and correct copy of Google Flights data




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   reflecting that there are no direct flights between St. Louis, MO and GGG. Most flights to GGG

   from St. Louis have either one or two stops, and total travel time ranges from 4 hours and 20

   minutes to 11 hours and 30 minutes. The Google Flights data also reflects that there are no direct

   flights between St. Louis, MO and SHV. All flights from St. Louis to SHV have one or two stops,

   and total travel time ranges from 4 hours and 20 minutes to 7 hours and 30 minutes. Attached

   hereto as Exhibit 140 is a true and correct copy of Google Flights data showing flights between

   St. Louis, MO and DFW, all of which are either nonstop or have one stop. Travel time ranges from

   approximately 2 hours to 7 hours and 25 minutes.

      V.          NEW YORK AND THE MUSIC INDUSTRY

            92.     Attached hereto as Exhibit 141 is a true and correct copy of a printout from the

   U.S. Bureau of Labor Statistics from May 2022 (available at the following URL:

   https://www.bls.gov/oes/current/oes272042.htm.).

            93.     Attached hereto as Exhibit 142 is a true and correct copy of a report entitled,

   “Economic Impact, Trends, and Opportunities Music in New York City,” from 2017, written by

   The Boston Consulting Group, Inc. and commissioned by Julie Menin, Commissioner, New York

   City Mayor’s Office of Media and Entertainment (available at the following URL:

   https://www.nyc.gov/assets/mome/pdf/MOME_Music_Report_2017_DIGITAL.pdf.).

      VI.         THE BMG CASE

            94.     I am also counsel of record in BMG Rights Management (US) LLC et al., v. Altice

   USA, Inc. et al., Case No. 2:22-cv-00471 (E.D. Tex.) (the “BMG Case”).

            95.     Attached hereto as Exhibits 143-153 are true and correct copies of Notices of

   Depositions served by the plaintiffs in the BMG Case on Altice for the following individuals: (1)

   Audrey Pinn; (2) Ahmed Fayed; (3) Christine Cummings; (4) Joe Foster; (5) Lisa Farrell; (6)




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   Michael Davis; (7) William Heberer; (8) Daniel Holton; (9) Keith Agabob; (10) Nodir Nazarov;

   and (11) Dan Drysdale.

          96.      Attached hereto as Exhibits 154-158 are true and correct copies of Notices of Intent

   to Serve Subpoenas served by the plaintiffs in the BMG Case on Altice for the following

   individuals: (1) Marian O’Hagan; (2) Robert Egan; (3) Pragash Pillai; (4) Donna Bush; and (5)

   Marc Shapiro.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.



          Executed on January 29, 2024

                                                           /s/ Sean R. Anderson
                                                           Sean R. Anderson




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